Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 1 of 31                                      PageID #: 2024




                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                        DISTRICT OF MAINE


    GEORGE LODER,
          Plaintiff,
                    v.                                           CIVIL ACTION NO. 2:20-cv-00157-JDL

    MAINE INTELLIGENCE ANALYSIS
    CENTER, et al.,
          Defendants.


                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                 WITH INCORPORATED MEMORANDUM OF LAW

         Pursuant to Federal Rule of Civil Procedure 56, Defendants Maine Information and

Analysis Center 1 (“MIAC”) and Col. John Cote (collectively “Maine State Police” or “MSP”), as

well as Lieutenants Scott Ireland and Michael Johnston hereby submit the following Motion for

Summary Judgment with incorporated memorandum of law and request that summary judgment

be entered in their favor on both of Plaintiff’s remaining claims.

                                                 Nature of Claims

         After the Court granted Defendants’ Motion to Dismiss (ECF No. 10), the claims that

remain in the case are a retaliation claim under the Maine Whistleblowers’ Protection Act

(“WPA”) (Count 1) against the MSP and a First Amendment retaliation claim brought under 42

U.S.C. § 1983 against Ireland and Johnston in their individual capacities (Count 2).

                                                        Facts

         The MIAC is a unit of the Maine State Police under the command of the MIAC Director,

a Maine State Police Lieutenant appointed by the Colonel of the Maine State Police. Joint Stip.


1
  The lawsuit is captioned “Maine Intelligence Analysis Center,” but the unit of the Maine State Police is in fact called
the “Maine Information Analysis Center.”

                                                           1
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 2 of 31                             PageID #: 2025




Facts (“JSF”) ¶ 45. Defendant Col. John Cote is Chief of the MSP and is the commanding officer

who oversees the entirety of the MSP. Def.s’ Statement Mat. Facts (“DSMF”) ¶ 1. Cote leads the

four-person Command Staff of the MSP, which also includes the Lt. Col. as Deputy Chief, as well

as an Operations Major and a Support Services Major. Id. ¶¶ 1-5. Defendant Lt. Scott Ireland is a

27-year employee of the MSP who served as the Director of the MIAC from January 2015 through

October 2018. JSF ¶¶ 7-9. Defendant Lt. Michael Johnston is a 20-year employee of the MSP who

served as the Sergeant overseeing the day-to-day operations of the MIAC from mid-2016 through

October 2018. Id. ¶¶ 1-6. From October 2018 until 2021, Lt. Johnston served as the Director of the

MIAC. Id. ¶ 6

        Plaintiff George Loder is an employee of the Maine State Police (“MSP”) who began his

employment in 1994 and has worked most of his career as a Trooper on the interstate highway.

JSF ¶¶ 20, 42. Loder’s career with the MSP has been mixed. Loder has received at least four

disciplinary suspensions during his career. DSMF ¶ 7. One of those suspensions occurred in 1998

after an internal investigation found that Loder had made a false statement to an internal

investigating officer. Id. ¶ 7. In addition to his disciplinary suspension for that incident, Loder was

determined to be “Giglio-impaired”. Id. ¶ 8. A law enforcement officer is Giglio-impaired when

there has been an adverse finding about his or her truthfulness, bias, or ability to accurately recall

information, as occurred when Loder was found to have been untruthful in an official proceeding.

Id. ¶ 133. The MSP is obligated to disclose to prosecutors any such Giglio impairments so that the

State may fulfill its discovery obligations pursuant to Brady and Giglio. 2 Id. ¶¶ 133-34.

        Nevertheless, Loder also made some advancements in his career over time. In March 2012,

Loder was promoted to a Detective position in the MIAC, a position based in Augusta. JSF ¶¶ 21-


2
 Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150 (1972). See also M.R.U. Crim. P.
16(a)(2)(D); M.R. Prof. Conduct 3.8(b).

                                                      2
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 3 of 31                    PageID #: 2026




23; DSMF ¶¶ 8-9. Loder held the same Detective position within the MSP from March of 2012

until November 4, 2018, when he demoted back to being a Trooper. DSMF ¶ 15.

       Soon after Loder began his Detective duties in the MIAC in 2012, he decided that he did

not enjoy his new position in the MIAC. DSMF ¶ 11. Later in 2012 or 2013, Loder was given a

Temporary Duty Assignment to the FBI’s Joint Terrorism Task Force (JTTF). Id. ¶¶ 13-14; JSF

¶ 25. Loder believed that the minimum time he was likely to serve on the JTTF was three years.

DSMF ¶ 17. But he also understood that his assignment to the JTTF was not permanent and that

management could reassign him based on the operational needs of the MSP. Id. ¶ 16.

       Although the JTTF is operated by the FBI, Loder remained employed by the MSP as a

Detective throughout the time he was assigned to the JTTF and was never employed by the federal

government. JSF ¶¶ 26-28. For purposes of his JTTF work, FBI Supervisory Senior Resident

Agent (“SSRA”) Aaron Steps was Loder’s Supervisor. Id. ¶ 17. Loder also worked at times with

the United States Attorney’s Office for the District of Maine, specifically Assistant U.S. Attorney

Richard “Rick” Murphy. JSF ¶ 18; DSMF ¶ 18. Loder continued to receive performance

evaluations from his MSP supervisors in the MIAC. DSMF ¶¶ 25, 30-31, 59.

       By 2016, Defendant Ireland was the Lieutenant responsible for overseeing the MIAC, and

Defendant Johnston was the Sergeant responsible for overseeing the day-to-day operations of the

MIAC. JSF ¶¶ 3-4, 9. Around November 2017, Johnston instructed Loder to attend weekly MIAC

meetings via conference call. DSMF ¶ 25. Johnston made this decision for several reasons: 1) to

better leverage Loder’s position on the JTTF for the needs of the MIAC and MSP; 2) to integrate

Loder more with his MIAC colleagues since Loder’s Temporary Duty Assignment was based in

Portland and the MIAC is based in Augusta; and 3) to comply with formal FBI guidance that fusion

center directors examine their local JTTF office and determine how communication and



                                                3
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 4 of 31                     PageID #: 2027




relationships could be improved between the two. Id. ¶¶ 25-26. In an email to Loder, Johnston

noted that “[t]he purpose of this meeting is to share information with other members of the unit

and to increase your situational awareness of MIAC’s activities.” DSMF ¶ 25.

       Loder resisted Johnston’s instruction to share any information about his activities on the

JTTF. Id. ¶ 21. Loder told Johnston that he was hesitant to share information because Loder felt

that the information belonged to the FBI and the federal government. Id. Loder further told

Johnston that he was not free to share certain information without following certain federal rules

and regulations and that he could not share other information at all. Id. Loder told Johnston this

despite the fact Loder understood that he could share at least some information with the MIAC

while complying with all necessary federal laws, regulations, and rules. Id. ¶ 22. During this time

period, Loder received advice from FBI Assistant Chief Division Council Alethea Harris regarding

how to appropriately disclose information to the MIAC. Id. ¶ 29. Harris did not instruct Loder not

to attend weekly MIAC meetings or to not disclose information to the MIAC, but merely advised

that any disclosures he made should be Privacy Act compliant. Id.

        On one occasion, Loder and Johnston had a phone conversation about Loder’s concerns

about sharing JTTF information with the MIAC. Id. ¶ 19. This and other calls that Johnston had

with Loder about Loder’s MSP and JTTF service took place on phones subsidized by MSP money,

whose numbers were circulated among MSP officers in order to contact each other for MSP

activity. Id. ¶ 24. Johnston followed up the phone call with Loder in an email to Loder’s MSP and

JTTF email address, stating that Loder’s should “share relevant information that is in full

compliance with any FBI policies, regulations, or guidelines in addition to applicable federal

laws.” Id. ¶ 73. Johnston further stated that he would “defer to [Loder’s] judgment on what [Loder]

feel[s] is appropriate, relevant, and reasonable to share.” Id. Loder did not receive any instruction



                                                 4
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 5 of 31                       PageID #: 2028




from his FBI supervisor Aaron Steps barring him from attending MIAC meetings or sharing

information with the MIAC. Id. ¶ 28.

       Around March 25, 2018, Johnston met with Loder to go over his annual performance

evaluation. Id. ¶ 30. Loder received a generally satisfactory evaluation, but two areas were flagged

that needed improvement: 1) Loder’s communication with the MIAC in order to better leverage

his position on the JTTF; and 2) a need for more timely submission of reports to Loder’s FBI

supervisor Aaron Steps. Id. ¶ 31. At the time of this meeting, Johnston had no reason to believe

that Loder’s Temporary Duty Assignment to the JTTF would come to an end. Id. ¶ 30.

       Throughout 2017 and into 2018, Loder and David Pelletier were the only two MSP

Detectives holding permanent positions stationed at the MIAC. Id. ¶ 35. Pelletier’s assignment

included some MIAC analysis work, but also included the day-to-day work of the Weapons and

Professional Licensing tasked to the MSP by Maine state law. Id. Pelletier had informally spoken

as early as January 2018 about a desire to retire later that year. Id. ¶ 36. However, Pelletier did not

specifically announce when he was retiring until two to three months before his actual retirement

date of August 3, 2018. Id.

       Upon notification that Pelletier would retire in August, MSP Command Staff member and

Operations Major Christopher Grotton was forced to consider how to allocate personnel resources

in response. Id. ¶¶ 37-38. Grotton was aware that there were already significant Trooper vacancies

in the MSP and that no other unit under his command could afford to transfer a Detective into the

MIAC. Id. ¶ 38. Further, Grotton and the rest of the Command Staff had been questioning for years

the value of having a Detective assigned to the JTTF. Id. ¶ 41. Although there was some value in

such an assignment, Grotton considered it a relatively low priority compared to the assignments

tasked to Pelletier, which were mandated by Maine statute. Id. ¶¶ 41-42. Grotton knew Loder had



                                                  5
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 6 of 31                      PageID #: 2029




been assigned to the JTTF for five years, which was two years more than what Grotton considered

an appropriate amount of time. Id. ¶ 47. Grotton determined the best way to fill the vacancy created

by Pelletier’s retirement was to call back to the MIAC the only other Detective who held a MIAC

position in order to fill it. Id. ¶¶ 35, 47-48, 50. Grotton further determined that because there was

not a significant amount of time before Pelletier’s retirement, it would be best to call Loder back

fairly quickly to train with Pelletier directly in order to retain Pelletier’s institutional knowledge

before his retirement. Id. ¶¶ 49-50. Grotton shared this information with fellow Command Staff

members Col. John Cote and Maj. Brian Scott, who supported the decision. Id. ¶ 50. Grotton also

discussed the decision with Lt. Scott Ireland, who likewise supported the decision and who carried

it out upon Grotton’s instruction. Id. ¶ 51. Once Grotton instructed Ireland to call Loder back from

the JTTF, Ireland would have been insubordinate and subject to disciplinary action had he ignored

Grotton’s instructions. Id. ¶ 53. At the time that Grotton made this decision, neither he, the rest of

the MSP Command Staff, Ireland, nor Johnston had any knowledge that Loder believed the MIAC

was engaged in any illegal activity. Id. ¶¶ 54, 56.

       On May 15, 2018, Ireland and Johnston called Loder to the MIAC office in Augusta in

order to have Loder sign to acknowledge his annual performance evaluation. Id ¶ 59. The purpose

of this meeting was also to inform Loder that due to the operational needs of the MSP, Loder was

being called back from the JTTF part-time in order to train with Pelletier so that Loder could fully

replace Pelletier upon his retirement. DSMF ¶ 59. On May 22, Ireland followed up by email to

Loder that Loder would start working one day per week at the MIAC until Pelletier retired to

prepare Loder to take over Pelletier’s work. Id. ¶ 65.

       May 29, 2018 was the first day Loder was supposed to return part-time to the MIAC to

train with Pelletier. Id. When Loder did not show up to work, Ireland called Loder and told him to



                                                  6
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 7 of 31                                  PageID #: 2030




report to the MIAC. Id. ¶ 66. Upon arrival, Loder met with Ireland and Johnston, and they gave

Loder an updated job description, which included Pelletier’s former duties related to weapons

permits and professional licensing as well as MIAC duties. Id. ¶ 69. During this meeting, Loder

expressed a number of reservations about working at the MIAC, including commute time, a desire

to work outside an office setting, and also a belief that the MIAC was in violation of federal privacy

law. Id. ¶ 70. This was the first time Johnston, Ireland, or anyone with the MSP became aware of

Loder’s mistaken belief that the MIAC was violating federal law. 3 Id. ¶ 71.

        In response to being told that he would be working in Augusta, Loder requested

approximately two months of vacation time. Id. ¶ 74. Ireland and Johnston told Loder that he

would be able to use his accrued vacation time, but Loder would need to report to the MIAC for

part of this period in order to train with Pelletier before Pelletier’s retirement. Id. ¶ 75. On May

31, Johnston emailed Loder about the time he would be required to work before Pelletier retired

in order for Loder to learn Pelletier’s job in the MIAC and with the Weapons and Professional

Licensing Unit. Id ¶ 78.

        Shortly thereafter Loder requested to take medical leave under the Family Medical Leave

Act (“FMLA”). JSF ¶ 31. Loder took his twelve full weeks of FMLA leave time, as well as some

additional sick time. Id. ¶ 33. Pelletier retired on August 3, 2018 while Loder was still on medical

leave. Id. ¶ 11. On September 28, a position was posted for a MCU-S Detective, which Loder

applied for. Id. ¶¶ 37-38; DSMF ¶ 89. The following week Loder was cleared to return to work by

his doctors, and he returned to working in the MIAC on October 3. JSF ¶¶ 35-36.

        Loder interviewed for the MCU-S Detective position on October 22, 2018. Id. ¶ 39. As the

Command Staff has done on other occasions in similar circumstances, Loder—the only candidate


3
  As decided by the Court in its order dismissing Loder’s Privacy Act claims, the federal Privacy Act does not apply
to state agencies such as the MIAC. Order on Defendants’ Motion to Dismiss (ECF 32) at 10-13.

                                                         7
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 8 of 31                    PageID #: 2031




of the four who was seeking to transfer from a different detective position—was interviewed as

were the three Troopers seeking a promotion to MCU-S Detective. DSMF ¶ X. The interview

panel members for Loder and the three Troopers were Col. Cote, Lt. Col. Harwood, Major Scott,

and the then-commander of MCU-S, Lt. Mark Holmquist. JSF ¶ 39: DSMF ¶ 144. Loder was not

selected for the position. JSF ¶ 40. Instead, the panel unanimously agreed that the applicant they

selected, Trooper Coflesky, was the best candidate for the position. DSMF ¶¶ 90, 102-03.

       The panel looked for the candidates to demonstrate the skills necessary to perform well as

a MCU-S Detective. Id. ¶¶ 96, 98-99, 107, 121. Specifically, they were looking for experience that

would translate well to the types of investigations that MCU-S Detectives encounter most

frequently—homicides, child abuse, sexual assaults, and other serious, mostly violent crimes. Id.

They were also looking for candidates who had shown that they could work well as part of a team,

including taking direction; that they could lead a team; and that they could conduct investigations

other than homicide from start to finish without much supervision. DSMF Id.

       The selected candidate, Coflesky, had significant experience as a Troop Investigator with

primary responsibility for investigating property crimes (including armed home invasion) and drug

overdoses. Id. ¶¶ 122, 124, 127. Coflesky had worked alongside officers from other federal, state,

and local law enforcement, including the MCU-S. Id. ¶ 122. The MCU-S had chosen him to assist

with homicide investigations; in one of these investigations, his work was pivotal in identifying

the suspect who was ultimately convicted of the crime. Id. Coflesky provided specific examples

in his interview of cases in which he was the initial responder or co-responder and worked the

investigations from the initial interviews, crime scene processing, evidence control, working with

the crime lab and crash reconstruction experts, working with other agencies, and continuing to see

the cases through grand jury and prosecution. Id. ¶ 123. He thoroughly explained the specific steps



                                                8
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 9 of 31                    PageID #: 2032




he would follow to investigate a child sexual abuse allegation. Id. ¶ 126. He showed that he could

not only take full ownership of an investigation but could also be relied on to do whatever a team

leader needed him to do. Id. ¶¶ 122, 124, 127. In addition to managing his primary responsibilities,

Coflesky was a member of the MSP’s tactical team. Id. ¶ 127. His experience was impressive and

was directly relevant to the work that MCU-S Detectives do. Id. ¶¶ 127-29.

       Loder failed to impress the interviewers. Id. ¶¶ 108-19. Loder had spent most of his career

as a Trooper on the Interstate. Id. ¶ 110. Unlike Coflesky, he did not have experience as a Troop

Investigator. Id. ¶ 125. Most of his investigative experience came from his time on the JTTF, but

in his interview, he only discussed one or two cases that he worked on at the JTTF. Id. ¶ 111. He

indicated that he had worked primarily in an assistive capacity on the JTTF and did not talk about

being primarily responsible for any cases from start to finish. Id. ¶¶ 112-13. Loder had little

experience with child abuse, suspicious death cases or working crime scenes. Id. ¶¶ 108-09, 114-

16. He had difficulty answering a question about how he would handle a child sexual abuse

allegation and acknowledged that he did not have much experience in that area. Id. ¶¶ 114-16.

While Loder had experience on the JTTF involving fraud and embezzlement, the MCU-S

Detectives rarely handle such cases. Id. ¶ 117. The interviewers perceived that Loder simply did

not have the experience Coflesky had, either in taking primary responsibility for investigations, or

in working on homicides, suspicious deaths, child abuse, or other violent crimes, which are the

most common types of cases handled by MCU-S Detectives. Id. ¶¶ 109, 115, 119, 121, 124, 129.

       Additionally, Loder has been deemed to be Giglio-impaired. Id. ¶¶ 8, 138, 141. Harwood

and Cote knew about the Giglio impairment and thought it was an impediment to being an effective

MCU-S Detective. Id. ¶¶ 138-41. Cote, the Chief and the ultimate decision-maker, would not have

supported hiring Loder as an MCU-S Detective for this reason alone. Id. ¶¶ 139-40. Scott did not



                                                 9
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 10 of 31                    PageID #: 2033




 know whether Loder was Giglio-impaired but thought he might be based on something Loder

 brought up in his interview. Id. ¶¶ 130-31. Had Loder otherwise been a top choice for the position,

 Scott would have wanted to know more about it because he knew Giglio impairment could hinder

 a MCU Detective’s effectiveness. Id. ¶ 132. Holmquist did not know that Loder was Giglio-

 impaired but he would not have supported hiring Loder if he had known. Id. ¶¶ 135-37. No current

 MCU Detectives are Giglio-impaired. Id. ¶ 142.

        The substance of any statements Loder had made about his opinion of the legality of the

 MIAC’s activities did not cause any of the interviewers’ decisions to select Coflesky for the MCU-

 S Detective position. Id. ¶ 143. Instead, it was the comparative skills, knowledge and experience

 of the candidates, and how they demonstrated these at their interviews (and, for Harwood and Cote,

 the Giglio problem). Id. ¶¶ 129, 143. Whatever Loder thought about the MIAC’s activities was not

 a factor in their assessment of the candidates’ qualifications. Id. ¶ 143.

        Shortly after he was informed that he was not selected for the MCU-S position, Loder

 requested a demotion to Trooper in Troop G (the Maine Turnpike), which was granted on

 November 5, 2018. JSF ¶¶ 40-41. This suit followed.

                                              Argument

 I.     Standard of Review on Summary Judgment

        Summary judgment is appropriate if “the movant shows that there is no genuine dispute as

 to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

 56(a); see Ahmed v. Johnson, 752 F.3d 490, 495 (1st Cir. 2014). For summary judgment purposes,

 “genuine” means that “a reasonable jury could resolve the point in favor of the nonmoving party,”

 and a “material fact” is one whose “existence or nonexistence has the potential to change the

 outcome of the suit.” Tropigas de Puerto Rico, Inc. v. Certain Underwriters at Lloyd’s of London,

 637 F.3d 53, 56 (1st Cir. 2011) (citations omitted). “[A]s to any essential factual element of its

                                                  10
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 11 of 31                                    PageID #: 2034




 claim on which the nonmovant would bear the burden of proof at trial, its failure to come forward

 with sufficient evidence to generate a trialworthy issue warrants summary judgment to the moving

 party.” In re Spigel, 260 F.3d 27, 31 (1st Cir. 2001). The Court must draw all reasonable inferences

 in the non-moving party’s favor, but it must not “draw unreasonable inferences or credit bald

 assertions, empty conclusions,” or “rank conjecture.” Brandt v. Fitzpatrick, 957 F.3d 67, 75 (1st

 Cir. 2020). “Even in employment discrimination cases where elusive concepts such as motive or

 intent are at issue, summary judgment is appropriate if the non-moving party rests merely upon

 conclusory allegations, improbable inferences, and unsupported speculation.” Id. (quoting Ray v.

 Ropes & Gray LLP, 799 F.3d 99, 116-17) (1st Cir. 2015)).

 II.      The Maine State Police Is Entitled to Summary Judgment on Plaintiff’s Claims of
          Retaliation under the WPA.

          To prevail on a WPA retaliation claim, a plaintiff must show that 1) he engaged in activity

 protected by the WPA; 2) he was the subject of an adverse employment action; and 3) there was a

 causal link between the protected activity and the adverse employment action. See Brady v.

 Cumberland Cty., 2015 ME 143, ¶ 14, 126 A.3d 1145. For purposes of this motion, the MSP 4

 assumes Loder engaged in protected activity when he said that he thought the MIAC engaged in

 illegal activity. The MSP also assumes for the purposes of this motion that Loder experienced

 adverse employment actions when his JTTF temporary assignment ended and when he was not

 selected for the MCU-S Detective position. Nevertheless, Loder cannot point to sufficient evidence

 in the record to establish a causal connection between his statements and either of these actions.




 4
  In the Complaint, the heading for Count I states the count is against the “Maine State Police.” Defendants construe
 Count I to be brought against the named Defendant John Cote in his official capacity as Chief of the Maine State
 Police. To the extent the claim is asserted against the MIAC, the MIAC is simply a unit of the Maine State Police. For
 ease of reference, Defendants refer to the Maine State Police (MSP) as the defendant named in Count I.

                                                          11
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 12 of 31                     PageID #: 2035




        A. Loder cannot establish either that the MSP would not have ended his assignment to the
           JTTF, or that it would have hired him for the MCU-S position, but for any statements
           he made about the MIAC’s activities.

        To withstand summary judgment, Loder must point to evidence in the record that would

 allow a factfinder to reasonably infer that his protected activity “was a substantial, even though

 perhaps not the only, factor motivating [the adverse action].” Caruso v. Jackson Lab., 2014 ME

 101, ¶ 13, 98 A.3d 221 (quoting Walsh v. Town of Millinocket, 2011 ME 99, ¶ 25, 28 A.3d 610)

 (affirming summary judgment); see also Theriault v. Genesis Healthcare LLC, 890 F.3d 342, 349

 (1st Cir. 2018). Loder must show that an unlawful retaliatory motive “in fact… made a difference”

 in the MSP’s decision-making. Caruso 2014 ME 101, ¶ 13, 98 A.3d 221 (quoting Wells v. Franklin

 Broad. Corp., 403 A.2d 771, 773 (Me. 1979)). “Put simply, ‘[his] protected whistleblowing

 activity must be a but-for cause of the employer’s decision to [take the adverse action].’” Murray

 v. Kindred Nursing Centers W. LLC, 789 F.3d 20, 26 (1st Cir. 2015) (quoting Caruso, 2014 ME

 101, ¶ 17, 98 A.3d 221). It is not enough to show a causal nexus between the protected activity

 and an adverse employment action if a reasonable factfinder could not find that the but-for standard

 was met. See Abril-Rivera v. Johnson, 806 F.3d 599, 608-10 (1st Cir. 2015) (affirming summary

 judgment on Title VII discrimination claim where record showed “benign and logical reason” for

 employer’s actions).

        Where the MSP has shown evidence of legitimate non-retaliatory reasons for its actions,

 Loder “must show pretext by establishing ‘weaknesses, implausibilities, inconsistencies,

 incoherencies, or contradictions in the employer’s proffered legitimate reasons.’” Theriault, 890

 F.3d at 353 (quoting Cookson v. Brewer Sch. Dep’t, 2009 ME 57, ¶ 17, 974 A.2d 276). Loder must

 show that “either (1) the circumstances underlying the [MSP’s] articulated reason are untrue, or

 (2) even if true, those circumstances were not the actual cause of the employment decision.”


                                                 12
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 13 of 31                     PageID #: 2036




 Cookson, 2009 ME 57, ¶ 16, 974 A.2d 276. “[T]he presence of the issue of motivation or intent

 does not relieve the plaintiff of [his]…burden of producing evidence sufficient to create a question

 of fact on that issue.” Id. ¶ 17 (quoting Stanley v. Hancock Cty. Comm’rs, 2004 ME 157, ¶ 25, 864

 A.2d 169).

        i.      Loder cannot meet his burden as it relates to the decision to call him back from
                his Temporary Duty Assignment to the JTTF.

        Appraisal of the record as a whole reveals a lack of evidence sufficient to support a finding

 that MSP would not have ended Loder’s assignment to the JTTF in May 2018 but for his statements

 about the MIAC’s activities. First, he cannot establish “that the decisionmaker knew of [the]

 protected conduct when he or she decided to take the adverse employment action.” Pomales v.

 Celulares Telefonica, Inc., 447 F.3d 79, 85 (internal citations omitted). The people who decided

 to end Loder’s assignment to the JTTF were Ireland and Ireland’s superior, Grotton, with the

 agreement of Maj. Scott and then-Lt. Col. Cote on the Command Staff. They did not know about

 Loder’s opinions about the legality of the MIAC’s activities until after Loder was told that his

 assignment to the JTTF was ending. The record contains no evidence to the contrary.

        Second, the record establishes ample evidence of the MSP’s legitimate non-retaliatory

 reasons for ending Loder’s temporary assignment to the JTTF in May 2018. The record shows that

 Detective Pelletier started saying in January 2018 that he would retire later that year; he informed

 the MSP of his retirement date approximately two to three months before that date, which was

 August 3, 2018; his duties included concealed weapons permitting and professional licensing as

 well as MIAC analysis; Pelletier’s Weapons and Professional Licensing duties were required by

 law for the MSP to perform; when the MSP learned when Pelletier was retiring, they had to figure

 out how they would replace Pelletier so that these duties would continue to be performed; Loder

 was the only other detective assigned to the MIAC at the time; Loder had no contractual rights to

                                                 13
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 14 of 31                    PageID #: 2037




 remain assigned to the JTTF; there was no requirement for the MSP to keep anyone assigned to

 the JTTF; the MSP’s Command Staff perceived little value to the MSP from keeping someone

 assigned to the JTTF; Loder had already served five years on the JTTF, which Command Staff

 members considered to be an adequate amount of time for a temporary assignment to a task force;

 posting Pelletier’s position would only encourage a transfer of a Detective from another unit that

 could not afford to lose one, or promotion of a road Trooper where there were already too many

 road vacancies; Loder could be reassigned from the JTTF to the MIAC quickly, allowing him to

 learn the Weapons and Professional Licensing duties directly from Pelletier before Pelletier

 retired; and Loder could also perform MIAC analysis duties.

        These facts are entirely consistent with what MSP told Loder when it ended his assignment

 to the JTTF in May 2018. On May 15, Ireland and Johnston told Loder that his temporary

 assignment to the JTTF was ending and he would return to the MIAC to work on MIAC duties as

 well as Pelletier’s licensing and weapons duties. On May 22, Ireland followed up by email to Loder

 that Loder would start working one day per week at the MIAC until Pelletier retired to prepare

 Loder to take over Pelletier’s work. On May 29, Ireland and Johnston gave Loder an updated job

 description, which included Pelletier’s former duties related to weapons permits and professional

 licensing as well as MIAC duties. On May 31, Johnston emailed Loder about the time he would

 be required to work before Pelletier retired in order to learn his job in the MIAC and with the

 licensing and weapons unit.

        The record reveals nothing “idiosyncratic or questionable” about this straightforward

 decision to reassign an employee where he was needed most at the time. Freadman v. Metro. Prop.

 & Cas. Ins. Co., 484 F.3d 91, 101 (1st Cir. 2007) (affirming summary judgment on ADA claim

 for lack of evidence of pretext).



                                                14
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 15 of 31                      PageID #: 2038




        ii.     Loder cannot meet his burden as it relates to the non-selection of Loder for a
                Major Crimes Unit-South Detective position.

        Appraisal of the entire record also reveals a lack of evidence sufficient to support a finding

 that MSP would have selected Loder for the MCU-S Detective position in October 2018, but for

 his statements about the MIAC’s activities. Four people—Col. Cote, Lt. Col. Harwood, Maj. Scott,

 and Lt. Holmquist—interviewed the four applicants for the MCU-S position, and they

 unanimously agreed that the applicant they selected, Trooper Coflesky, was the best candidate for

 the position. To defeat summary judgment, Loder would have to show not just that their judgment

 in selecting Coflesky was flawed—which would not be unlawful—but that retaliatory animus was

 the real reason behind the selection. See Henderson v. Mass. Bay Transp. Auth., 977 F.3d 20, 30

 (1st Cir. 2020). Loder cannot do so.

        The four interviewers were looking for the candidates to demonstrate the skills necessary

 to perform well as a MCU-S Detective. Specifically, they were looking for experience that would

 translate well to the types of investigations that MCU-S Detectives encounter most frequently—

 homicides, child abuse, sexual assaults, and other serious, mostly violent crimes. They were also

 looking for candidates who had shown that they could work well as part of a team, including taking

 direction; that they could lead a team; and that they could conduct investigations other than

 homicide from start to finish without much supervision.

        The selected candidate, Coflesky, had significant experience as a Troop Investigator with

 primary responsibility for investigating crimes such as property crimes (including armed home

 invasion) and drug overdoses. He had worked alongside officers from other federal, state, and local

 law enforcement, including the MCU-S. The MCU-S had chosen him to assist with homicide

 investigations; in one of these investigations, his work was pivotal in identifying the suspect who

 was ultimately convicted of the crime. Coflesky provided specific examples in his interview of

                                                 15
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 16 of 31                    PageID #: 2039




 cases in which he was the initial responder or co-responder and worked the investigations from

 the initial interviews, crime scene processing, evidence control, working with the crime lab and

 crash reconstruction experts, working with other agencies, and continuing to see the cases through

 grand jury and prosecution. He thoroughly explained the specific steps he would follow to

 investigate a child sexual abuse allegation. He showed that he could not only take full ownership

 of an investigation but he could also be relied on to do whatever a team leader needed him to do.

 In addition to managing his primary responsibilities, Coflesky was a member of the MSP’s tactical

 team. His experience was impressive and directly relevant to the work that MCU-S Detectives do.

        Loder failed to impress the interviewers. Loder had spent most of his career as a Trooper

 on the Interstate. Unlike Coflesky, he did not have experience as a Troop Investigator. Most of his

 investigative experience came from his time on the JTTF, but in his interview, he only discussed

 one or two cases that he worked on at the JTTF. He indicated that he had worked primarily in an

 assistive capacity on the JTTF and did not talk about being primarily responsible for any cases

 from start to finish. He had little experience with child abuse, suspicious death cases or working

 crime scenes. He had difficulty answering a question about how he would handle a child sexual

 abuse allegation and acknowledged that he did not have much experience in that area. While Loder

 had experience on the JTTF working on cases involving fraud and embezzlement, the MCU-S

 Detectives rarely investigate such crimes. The interviewers perceived that Loder did not have the

 experience Coflesky had, either in taking primary responsibility for investigations, or in working

 on homicides, suspicious deaths, child abuse, or other violent crimes, which are the most common

 types of cases handled by MCU-S Detectives.

        In addition to Loder’s comparative lack of relevant skills and experience, he is Giglio-

 impaired. Harwood and Cote knew about his Giglio impairment and thought it was an impediment



                                                 16
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 17 of 31                        PageID #: 2040




 to being an effective MCU-S Detective. Cote—who, as Chief, was the ultimate authority—would

 not have selected Loder because of the Giglio problem alone, even if Loder had otherwise been

 the most qualified candidate. Scott did not know whether Loder was Giglio-impaired but thought

 he might be based on something Loder said in his interview. Had Loder otherwise been a top

 choice for the position, Scott would have wanted to know more about it because he knew Giglio

 impairment could hinder a MCU Detective’s effectiveness. Holmquist did not know that Loder

 was Giglio-impaired, but he would not have supported hiring Loder if he had known. While the

 panelists did not need to reach the Giglio issue to conclude that Loder was not their top choice, the

 Giglio issue alone would have led to the same result.

        The substance of any statements Loder had made about his opinion of the legality of the

 MIAC’s activities did not cause any of the interviewers’ decisions to select Coflesky for the MCU-

 S Detective position. Instead, they made their decisions based on the comparative skills,

 knowledge and experience of the candidates, and how they demonstrated these at their interviews.

 The mere fact that Loder questioned the legality of the MIAC’s activities within a few months of

 the MCU-S hiring process does not get Loder past summary judgment. “[T]emporal proximity ‘is

 not sufficient, by itself, to forge a causal link strong enough to create an inference of causation and

 thus satisfy [the standard set forth in Brady] in the face of an employer’s asserted legitimate non-

 retaliatory reason for the adverse employment action.’” Pushard v. Riverview Psych. Ctr., 2020

 ME 23, ¶ 27, 224 A.3d 1239, 1246 (quoting Theriault, 890 F.3d at 352) (affirming summary

 judgment). “Chronological proximity does not by itself establish causality, particularly if the larger

 picture undercuts any claim of causation.” Ponte v. Steelcase Inc., 741 F.3d 310, 322 (1st Cir.

 2014) (quotations omitted). “Timing may bear on the question of causation in a retaliation claim,

 but we have also warned that a ‘narrow focus [on timing may] ignore[ ] the larger sequence of



                                                   17
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 18 of 31                       PageID #: 2041




 events and also the larger truth.’” Freadman, 484 F.3d at 100-01 (quoting Soileau v. Guilford of

 Me. Inc., 105 F.3d 12, 16 (1st Cir. 1997)). The larger picture is that four individuals independently

 assessed Coflesky as a better candidate for the MCU-S Detective position than Loder for reasons

 directly relevant to the position they were trying to fill. Whatever Loder thought about the MIAC’s

 activities was not a factor in their assessment of the candidates’ qualifications. In any event,

 Loder’s Giglio-impairment would have sunk his candidacy no matter what.

        For all of these reasons, the MSP is entitled to summary judgment on Loder’s claims of

 unlawful retaliation under the WPA.

 III.   Lieutenants Ireland and Johnston Are Entitled to Summary Judgment on Plaintiff’s
        Claim of Retaliation under 42 U.S.C. § 1983 and the First Amendment.

        The First Circuit has set out a three-part test for determining whether an adverse

 employment action violated a public employee’s First Amendment right to freedom of speech. See

 McGunigle v. City of Quincy, 835F.3d 192, 202 (1st Cir. 2016) (citing Decotiis v. Whittemore, 635

 F.3d 22, 29 (1st Cir. 2011)). First, Loder must establish that he spoke as a citizen on a matter of

 public concern. See id. Second, Loder must demonstrate that his interests in speaking must

 outweigh the MSP’s interest in functioning efficiently. See id. Third, Loder must show that his

 protected speech was a substantial or motivating factor in the adverse employment action. See id.

 Finally, even if Loder can establish all three parts of the test, Ireland and Johnston may not be held

 liable if they can show that the MSP would have reached the same decisions regarding Loder’s

 employment status, even absent the protected speech. See id. For purposes of this summary

 judgment motion, Defendants need not address the second prong of the test, as Loder cannot meet

 his burden on either the first or third prong; and, even if he could, the record establishes that the

 MSP would have reached the same decisions even absent the protected speech.




                                                  18
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 19 of 31                                        PageID #: 2042




          Loder asserts that he engaged in constitutionally protected speech when he complained

 about certain MIAC activity to Ireland, Johnston, his JTTF supervisor Aaron Steps, and a member

 of the U.S. Attorney’s Office. Whether or not Loder’s purported statements were about a “matter

 of public concern,” which Defendants are not addressing in this motion, such comments could

 only reasonably be construed as being made by Loder in his capacity as a public employee and not

 as a private citizen. That alone bars Loder’s claim. Second, even if Loder had been speaking as a

 private citizen, a comprehensive review of the record reveals insufficient evidence for Loder to

 establish that his purportedly protected speech was a substantial or motivating factor in removing

 him from the JTTF, again dooming his First Amendment claim. 5 Even if Loder could show

 evidence of a causal link, the record demonstrates that the MSP would have reached the same

 conclusion to reassign Loder from the JTTF to Pelletier’s duties in the MIAC in Augusta, whether

 he made any purportedly protected First Amendment comments or not. That, too, is sufficient to

 foreclose the claim. Finally, even if Loder could prevail on the underlying merits of his triply

 flawed First Amendment claim, Ireland and Johnston are entitled to qualified immunity.

          A. Loder’s statements about purported MIAC illegal activity were made in his capacity
             as a public employee, not in his capacity as a private citizen.

          As the Supreme Court has noted, “[r]estricting speech that owes its existence to a public

 employee's professional responsibilities does not infringe any liberties the employee might have

 enjoyed as a private citizen. It simply reflects the exercise of employer control over what the

 employer itself has commissioned or created.” Garcetti v. Ceballos, 547 U.S. 410, 421-22 (2006).


 5
   As discussed elsewhere in this motion, neither Ireland nor Johnston was a decision-maker in the selection for the
 MCU-S Detective position. To the extent Loder claims that the hiring decision was somehow affected by Loder’s
 statements, there is no evidence in the record to suggest that either Ireland or Johnston was responsible for the decision.
 But even if Ireland and Johnston could be construed to have made the decision not to hire Loder for the MCU-S
 position, the fatal flaws in Loder’s claim as it relates to causation, described supra at II.A.ii., apply to Ireland and
 Johnston, just as they apply to the MSP. Likewise, the fact that Loder spoke as a public employee and not as a private
 citizen (see infra at III.A.) prevents any relief under the First Amendment for the non-selection of the MCU-S position,
 just as it does with Loder’s reassignment from the JTTF.

                                                            19
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 20 of 31                      PageID #: 2043




 Put simply, Garcetti installed a threshold barring First Amendment retaliation claims when the

 speech at issue relates to the plaintiff’s employment and not their off-work activity as a private

 citizen. For example, a public employer’s action taken in response to an employee writing a letter

 to the editor of a local newspaper might trigger First Amendment scrutiny, while an action taken

 in response to an employee writing an internal memo might not. See id. at 422.

         Rejecting an action brought by an assistant district attorney who had internally criticized

 his office’s decisions in obtaining a search warrant, the Supreme Court’s decision in Garcetti

 created the modern paradigm for applying the First Amendment to public employees by

 unequivocally holding that “precedents do not support the existence of a constitutional cause of

 action behind every statement a public employee makes in the course of doing his or her job.” 547

 U.S. at 426. Therefore, in First Amendment retaliation cases, plaintiffs are only eligible for relief

 if courts first determine that the “employee spoke as a citizen on a matter of public concern.”

 Decotiis, 635 F.3d at 29-30 (quoting Curran v. Cousins, 509 F.3d 36, 45 (1st Cir. 2007)). In other

 words, if the plaintiff’s speech is better categorized as employee speech rather than private-citizen

 speech, then the claim cannot prevail.

         To determine whether a public employee spoke as a private citizen, the First Circuit has

 laid out a “two-step, context-specific inquiry” that asks “‘what are the employee’s official

 responsibilities?’ and second, ‘was the speech at issue made pursuant to those responsibilities?’”

 Id. at 31 (quoting Mercado-Berrios v. Cancel-Alegria, 611 F.3d 18, 26 (1st Cir. 2010)). To

 ascertain whether an employee’s speech is part of his official duties, the First Circuit has further

 stated that:

         Although no one contextual factor is dispositive . . . several non-exclusive factors,
         gleaned from the case law, are instructive: whether the employee was
         commissioned or paid to make the speech in question; the subject matter of the
         speech; whether the speech was made up the chain of command; whether the

                                                  20
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 21 of 31                           PageID #: 2044




         employee spoke at [his] place of employment; whether the speech gave objective
         observers the impression that the employee represented the employer when [he]
         spoke (lending it “official significance”); whether the employee's speech derived
         from special knowledge obtained during the course of [his] employment; and
         whether there is a so-called citizen analogue to the speech.

 Id. at 32 (internal citations omitted). In other words, “[t]he more intertwined the speech is with the

 employee's work station the less likely it is that the speech is protected as citizen speech.” Id. at

 33 n.12.

         Foley v. Town of Randolph, 598 F.3d 1 (1st Cir. 2010) provides an illustrative application

 of the First Circuit’s test. In Foley, the chief of a town fire department brought a § 1983 claim

 against his government employer, alleging that he suffered wrongful retaliation in violation of his

 free speech rights. Id. at 2-4. The speech at issue in Foley consisted of public statements the fire

 chief made to the media at the scene of a fatal fire, specifically criticizing inadequate funding and

 staffing of the fire department. Id. There, the First Circuit found that the plaintiff failed to articulate

 a viable First Amendment claim, because although his remarks were made in public, they were

 nevertheless made as an employee and not as a private citizen. Id. at 10.

         First, the court found that even though the fire chief’s statement to the media was not

 required by his job or his job description, it was done through the course of his employment,

 distinguishing it from a scenario in which a public school teacher might write a letter to the editor

 of a newspaper criticizing education policy. Id. at 6-7. It further highlighted that the fire chief was

 “in uniform and on duty” at the time he made the statements. Id. at 7. Likewise, the court noted an

 objective observer would view the fire chief as making the statements in his professional capacity,

 highlighting that there was no “relevant analogue to speech by citizens” to his statements. Id.

         Like the fire chief in Foley—and the ADA in Garcetti—First Circuit precedent dictates

 that Loder’s purported complaints about the MIAC can only be viewed as speech “made pursuant



                                                     21
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 22 of 31                      PageID #: 2045




 to employment duties.” Decotiis, 635 F.3d at 30. Viewed most generously, Loder’s speech about

 the MIAC seems to fall into two general buckets: 1) discussions with Johnston, SSRA Steps, and

 AUSA Murphy about Loder’s inability to share information with the MIAC that Loder learned

 while working on the JTTF; and 2) allegations Loder made to Johnston and Ireland that Loder

 believed the MIAC was engaged in illegal activity. Both categories of speech indisputably

 constitute speech by a public employee, not a private citizen.

        The first question in the context-specific analysis—“What were Loder’s official

 responsibilities”—is straightforward. Loder was temporarily assigned to the JTTF as an employee

 of the MSP. He retained his rank, pay, and responsibilities to the MSP chain-of-command

 throughout his time on the JTTF. As a member of the JTTF, Loder worked on criminal

 investigations under his FBI supervisor Aaron Steps. When necessary, Loder also worked with the

 local U.S. Attorney’s Office in the District of Maine, including Assistant U.S. Attorney Rick

 Murphy, on grand jury matters and criminal prosecutions. Throughout his time at the JTTF, Loder

 had clear obligations to both the U.S. Department of Justice and the MSP as a result of his job.

        Next, the First Circuit’s balancing test asks whether the speech at issue is “made pursuant

 to [Loder’s] employment duties”—here, his obligations to the MSP and DOJ. Virtually every non-

 exclusive factor laid out by the First Circuit in Decotiis tips toward an answer of “yes”:

    •   First, the subject matter of Loder’s concerns about sharing information with the MIAC

        from the JTTF—that Loder felt the information belonged to the FBI and that it was his

        duty as a JTTF member to prevent any disclosure of the information under the federal

        Privacy Act and other FBI rules—related directly to his job duties, both as a Detective in

        the MSP and as a member of the JTTF;




                                                 22
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 23 of 31                     PageID #: 2046




    •   Second, Loder’s allegations that the MIAC was acting contrary to law in the way it handled

        information directly related to the job expectations of a Detective in the MIAC, and even

        though Loder was on loan to the FBI, he was still hired to be a MIAC Detective in 2012

        and remained a MIAC Detective during his assignment to the JTTF;

    •   Third, both Loder’s concerns about sharing information and his allegations about the

        MIAC’s activities were made to colleagues up the chain of command. This is a critical

        factor in the First Circuit’s analysis. See Gilbert v. City of Chicopee, 915 F.3d 74, 83 (1st

        Cir. 2019) (“This type of communication—complaints or concerns made up the chain of

        command—is the quintessential example of speech that owes its existence to a public

        employee's official responsibilities and thus is not protected under the First Amendment.”)

    •   Fourth, Loder’s complaints were made in the context of his place of employment—either

        in the physical offices of the MIAC and the MSP in Augusta, or by phones paid for with

        employer funds and whose numbers are circulated among colleagues for purposes of

        contacting them for employment related activity;

    •   Fifth, Loder’s concerns about sharing information with the MIAC would leave an objective

        observer with the impression that Loder’s concerns carried “official significance,” as he

        purportedly represented to Johnston that FBI policy and other federal requirements

        prevented Loder from disclosing certain information that properly belongs to the U.S.

        Department of Justice;

    •   Sixth, whether it is the information Loder learned on the JTTF or the information he learned

        about the MIAC, all of Loder’s speech was derived from special knowledge obtained

        during the course of his employment; and




                                                 23
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 24 of 31                                   PageID #: 2047




     •   Seventh, because Loder made his statements to his supervisor in the FBI, Aaron Steps, to

         FBI Asst. Chief Division Council Alethea Harris, 6 to his prosecuting colleague at the U.S.

         Attorney’s Office, Rick Murphy, and up the chain of command in the MSP to Johnston and

         Ireland, there is no relevant “citizen analogue” to the speech the Loder alleges he was

         retaliated for making. 7

         All of the above factors lead to the conclusion that the purported speech for which Loder

 claims he was retaliated against by Ireland and Johnston was not made in a context protected by

 the First Amendment, but rather as an employee of the MSP assigned to work with the FBI.

 “[W]hile the First Amendment invests public employees with certain rights, it does not empower

 them to ‘constitutionalize the employee grievance.’” Garcetii, 547 U.S. at 420 (quoting Connick

 v. Myers, 461 U.S. 138, 154 (1983)). Loder therefore cannot hold Ireland or Johnston personally

 responsible for a First Amendment violation for any actions that he claims were taken in response

 to the speech at issue in this case.

         B. Loder cannot show that his speech was a substantial or motivating factor in an
            adverse employment action.

         Count 2 already fails because the purported speech at issue in this case was made in Loder’s

 capacity as an employee. But even if the Court were to assume that Loder’s purported speech was

 made as a private citizen, the record provides no evidence that the speech at issue was a substantial

 or motivating factor in any adverse employment action taken against Loder.




 6
   The record is unclear as to whether Loder complained about the MIAC to Harris or whether he merely sought her
 advice on whether or how to disclose information to the MIAC, but in either event there is no direct citizen analogue
 to such a conversation.
 7
  The only factor that does not obviously tip against Loder’s argument is whether Loder was commissioned or paid to
 make the speech in question. But even on this point, Loder made the speech as part of work-related conversations,
 phone calls, and email exchanges, as well as—at least according to Loder—at the behest of his FBI supervisors.

                                                         24
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 25 of 31                     PageID #: 2048




        As an initial matter, Loder’s First Amendment claim has been brought against Johnston

 and Ireland only, in their individual capacities. The decision to end Loder’s Temporary Duty

 Assignment to the JTTF was made by Ireland and Grotton, not Johnston. This reason alone is

 sufficient to demonstrate that Johnston cannot be found to have violated Loder’s First Amendment

 rights for the decision to end Loder’s assignment to the JTTF. In addition, neither Johnston nor

 Ireland took part in selecting a candidate for the MCU-S Detective position. Therefore, neither

 Johnston nor Ireland could be found to have violated Loder’s First Amendment rights when the

 four members of the MSP who made that decision chose another candidate. That leaves only

 Loder’s First Amendment claim against Ireland for the decision to end Loder’s Temporary Duty

 Assignment to the JTTF.

        In order to prevail on his First Amendment retaliation claim, Loder “must introduce

 sufficient evidence to allow a finding that his speech was a substantial or motivating factor behind

 the adverse employment action.” McGunigle, 835 F.3d at 203; see also Collins v. Nuzzo, 244 F.3d

 246, 251–52 (1st Cir. 2001). To do this, Loder “must produce some facts linking his employer’s

 adverse employment actions to his protected conduct.” McGunigle, 835 F.3d at 203; Rosaura Bldg.

 Corp. v. Mun. of Mayaguez, 778 F.3d 55, 67 (1st Cir. 2015). The record reveals that it in this case

 that is simply not possible.

        First, Loder cannot show that either Johnston or Ireland knew about Loder’s protected

 speech when Ireland and Grotton decided to end Loder’s assignment to the JTTF. This alone

 entitles Ireland and Johnston to summary judgment on Loder’s First Amendment claim. “It is only

 intuitive that for protected conduct to be a substantial or motiving factor in a decision, the

 decisionmakers must be aware of the protected conduct.” Ambrose v. Twp. of Robinson, Pa., 303

 F.3d 488, 493 (3d Cir. 2002). Although Loder had previously said to Johnston that he did not want



                                                 25
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 26 of 31                    PageID #: 2049




 to share certain information with the MIAC, he did not tell either Johnston or Ireland that he

 thought the MIAC was engaging in illegal activity until May 29, 2018—two weeks after they had

 informed him that the MSP was ending his temporary assignment to the JTTF.

        Second, even if Johnston or Ireland had understand Loder to have claimed that anything

 the MIAC was doing was illegal before the decision to end his assignment to the JTTF was made,

 the record contains ample evidence that the decision to end his JTTF assignment was made solely

 because of the operational needs and resources of the MSP at that time. See II.A.i., supra.

        Because Ireland and Johnston were not aware of Loder’s purportedly protected First

 Amendment speech until well after the decision to reassign him from the JTTF was made, and

 because the decision to call Loder back from the JTTF was made solely for legitimate non-

 retaliatory reasons, Ireland and Johnston are entitled to summary judgment on Count 2.

        C. The MSP has produced sufficient evidence that it would have taken the same actions
           regardless of Loder’s speech.

        Loder’s claim of unconstitutional retaliation fails if the record demonstrates that the MSP

 “would have reached the same decision even in the absence of the protected conduct.” Collins,

 244 F.3d at 252 (quoting Wytrwal v. Saco Sch. Bd., 70 F.3d 165, 170 (1st Cir. 1995). The record

 in this case demonstrates that the MSP would have made the same decisions had Loder not

 complained about the MIAC to Ireland, Johnston, or employees of the U.S. Department of Justice.

        Even if Loder could point to sufficient evidence to establish causation—which he cannot—

 there was no constitutional violation because Loder’s temporary assignment to the JTTF would

 have been ended in May 2018 absent any purportedly protected speech. See McGunigle, 835 F.3d

 at 203; Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977). The record

 reveals that regardless of what Loder said about the MIAC, Maj. Grotton—who knew nothing

 about any speech by Loder about the legality of the MIAC—decided that the best way to cover the

                                                 26
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 27 of 31                     PageID #: 2050




 Weapons and Professional Licensing duties after Det. Pelletier’s retirement was to assign Loder

 to those duties, for the reasons discussed in Part II.A.i. above.

        Moreover, Maj. Scott and then-Lt. Col. Cote—who also knew nothing about any speech

 by Loder about the legality of the MIAC—agreed with this decision for the same reasons. Det.

 Pelletier’s retirement, the problem it created, and the reasons why Loder’s reassignment was the

 best solution to that problem, provide not only an independent non-retaliatory basis for ending

 Loder’s reassignment to the JTTF, but also show that this decision would have been made

 regardless of Loder’s speech because the MSP needed Loder to take over Pelletier’s duties.

 Because the record shows that Loder’s temporary assignment to the JTTF would have been ended

 in May 2018 irrespective of what he said about the MIAC, and because Loder cannot show this

 non-retaliatory basis is pretextual, Defendants Johnston and Ireland are entitled to summary

 judgment. C.f. Gutwill v. City of Framingham, Mass., 995 F.3d 6, 14 (1st Cir. 2021) (affirming

 summary judgment on state whistleblower claim).

        Finally, Maj. Grotton instructed Ireland to end Loder’s time on the JTTF based on the

 operational needs of the MSP. Regardless of Ireland’s participation in conversations with Grotton

 about the decision—even if Ireland might have agreed with or supported Grotton’s instructions—

 Ireland would not have been at liberty to ignore the orders from his superior officer. Because the

 ultimate decision to reassign Loder was made above Ireland’s (and likewise Johnston’s) rank, a

 First Amendment retaliation claim cannot be maintained against Ireland or Johnston.

        D. Ireland and Johnston are entitled to qualified immunity.

        Public officials sued for money damages in their individual capacities under § 1983 are

 entitled to qualified immunity unless (1) the facts alleged demonstrate that the individual

 defendant’s conduct violated a statutory or constitutional right, and (2) the contours of that right

 were “clearly established” under then-existing law so that a reasonable official would have known
                                                   27
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 28 of 31                         PageID #: 2051




 that his or her conduct was unlawful. See Ashcroft v. al-Kidd, 563 U.S. 731, 735, 741 (2011);

 Morales v. Chadbourne, 793 F.3d 208, 214 (1st Cir. 2015). “Such immunity provides a shield ‘to

 all but the plainly incompetent or those who knowingly violate the law.’” Philip v. Cronin, 537

 F.3d 26, 34 (1st Cir. 2008) (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)). The First Circuit

 uses “a three-part test to determine whether an official is entitled to qualified immunity: whether

 the plaintiff's allegations, if true, establish a constitutional violation, whether the right was clearly

 established at the time of the alleged violation, and whether a reasonable officer, similarly situated,

 would understand that the challenged conduct violated that established right.” Philip, 537 F.3d at

 34 (internal quotations omitted). Therefore, an individual defendant is entitled to qualified

 immunity as long as he reasonably could have believed on the facts before him, even if that belief

 was mistaken, that his conduct did not violate the First Amendment. See id.

         Parts III.A.-C., supra, demonstrate why Loder cannot win on the merits of his First

 Amendment Count, causing Loder to fail the first element of the First Circuit’s three-part qualified

 immunity test. But even if First Amendment law provided a path for Loder to prevail—which it

 does not—qualified immunity further bars his claims against Ireland and Johnston in their personal

 capacities. Where binding First Circuit case law provides a compelling basis to conclude that Loder

 was not engaging in protected First Amendment Activity because he was speaking as a public

 employee, Ireland and Johnston were not on notice that any action they purportedly took in

 response to Loder’s speech violated his constitutional rights.

         For example, in a factual scenario not unlike the one alleged by Loder, the First Circuit

 noted in Curran that a plaintiff’s comments “were made not as a citizen, but were made in the

 course of his duties within the Department, to his superiors, and during a discussion of official

 Department policy. Thus, the first event in the history leading to [the plaintiff’s] termination



                                                    28
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 29 of 31                         PageID #: 2052




 involved speech which had no First Amendment protection.” 509 F.3d 36 at 45-46. In a more

 recent case, the First Circuit has underscored that “[t]his type of communication—complaints or

 concerns made up the chain of command—is the quintessential example of speech that owes its

 existence to a public employee's official responsibilities and thus is not protected under the First

 Amendment.” Gilbert, 915 F.3d at 83.

         In the face of this First Circuit precedent strongly supporting the conclusion that Loder

 spoke as a public employee, and the concomitant lack of clearly established law dictating the

 opposite conclusion that he spoke as a private citizen, Johnston and Ireland must be entitled to

 qualified immunity. There is also no clearly established law that would have put Ireland or

 Johnston on notice that implementing their superior officers’ non-retaliatory decision to end

 Loder’s assignment to the JTTF could constitute a constitutional violation.

         No matter how generously one construes the record facts in Loder’s favor, Ireland and

 Johnston fall well outside the category of public officials described as “plainly incompetent or

 those who knowingly violate the law” who otherwise do not enjoy qualified immunity. Almost

 every First Amendment retaliation case brought by a public employee is granted qualified

 immunity because defendants could have reasonably believed that there was no First Amendment

 protection under the specific circumstances they found themselves in. See Diaz-Bigio v. Santini,

 652 F.3d 45, 52-53 (1st Cir. 2011) (citing cases). As the First Circuit has emphasized: “[O]nly in

 the extraordinary case will it have been clearly established that a public employee’s speech merited

 constitutional protection.” Id. at 53. “Immunity exists even where the abstract ‘right’ invoked by

 the plaintiff is well-established, so long as the official could reasonably have believed ‘on the facts’

 that no violation existed.” Id. at 50 (quoting Dirrane v. Brookline Police Dep’t, 315 F.3d 65, 69

 (1st Cir. 2002)). Even if Loder’s First Amendment claim against Ireland and Johnston had merit—



                                                   29
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 30 of 31                   PageID #: 2053




 which it does not—precedent dictates that it cannot be allowed to proceed because 1) Johnston and

 Ireland could have reasonably believed that Loder was speaking as a public employee, not as a

 private citizen; and separately 2) they could commit no constitutional violation by following an

 order given by their superior officers for non-retaliatory reasons.

                                             Conclusion

        For the foregoing reasons, Defendants respectfully request that the Court enter summary

 judgment in favor of the Defendants on all of Plaintiff’s remaining claims in the Complaint.



 DATED: October 15, 2021                       Respectfully submitted,

                                               AARON M. FREY
                                               Attorney General


                                               /s/ Valerie A. Wright
                                               Valerie A. Wright
                                               Assistant Attorney General
                                               valerie.a.wright@maine.gov
                                               /s/ Paul E. Suitter
                                               Paul E. Suitter
                                               Assistant Attorney General
                                               paul.suitter@maine.gov
                                               Six State House Station
                                               Augusta, Maine 04333-0006
                                               Tel. (207) 626-8800
                                               Fax (207) 287-3145

                                               Attorneys for Defendants




                                                  30
Case 2:20-cv-00157-JDL Document 53 Filed 10/15/21 Page 31 of 31                    PageID #: 2054




                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 15 2021, I electronically filed the Defendants’ Motion for

 Summary Judgment with Incorporated Memorandum of Law with the Clerk of the Court using the

 CM/ECF system, which will send notification of such filing(s) to the following:


        Cynthia A. Dill
        dillesquire@gmail.com


                                                     /s/ Paul E. Suitter
                                                     Paul E. Suitter
                                                     Assistant Attorney General
                                                     Six State House Station
                                                     Augusta, Maine 04333-0006
                                                     Tel. (207) 626-8800




                                                31
